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18    Class Counsel

19                               UNITED STATES DISTRICT COURT
20                NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
21                                                 Case No. 5:12-MD-2314-EJD
22                                                 STIPULATED REQUEST AND
                                                   [PROPOSED] ORDER REGARDING
23   IN RE FACEBOOK INTERNET                       POST-DISTRIBUTION ACCOUNTING
     TRACKING LITIGATION
24

25
     THIS DOCUMENT RELATES TO
26   ALL ACTIONS

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28
     CASE NO. 5:12-MD-2314-EJD
     STIPULATED REQUEST AND
     [PROPOSED] ORDER
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 1          Pursuant to Civil Local Rule 6-2, Plaintiffs Perrin Davis, Cynthia Quinn, Brian Lentz, and

 2   Matthew Vickery (“Plaintiffs”) and Defendant Meta Platforms, Inc. (“Meta”) (collectively “the

 3   Parties”), by and through their respective counsel, stipulate and agree as follows, subject to Court

 4   approval:

 5          WHEREAS, on November 10, 2022, the Court issued the Order Granting Motion for Final

 6   Approval of Class Action Settlement; Granting Motion for Attorneys’ Fees, Expenses, and Service

 7   Awards; Judgment (the “Order”) (ECF No. 289) and therein set a compliance deadline of

 8   February 10, 2023 to file a post-distribution accounting in accordance with this District’s

 9   Procedural Guidance for Class Action Settlements;

10          WHEREAS, on December 8, 2022, objectors Sarah Feldman, Hondo Jan and Eric Alan

11   Isaacson filed notices of appeal (the “Objector Appeals”), see ECF No. 293 (Feldman and Jan) and

12   ECF No. 294 (Isaacson);

13          WHEREAS, the Settlement Agreement provides for distribution of the Settlement

14   Payments to Settlement Class Members following the “Effective Date,” which does not occur until

15   the Objector Appeals are resolved, see Settlement Agreement (ECF No. 233-1) at Sections 1.13

16   (“Effective Date” defined) and 4.9 (Settlement Payments to Settlement Class Members to be

17   distributed after “Effective Date”); and

18          WHEREAS, in light of the Objector Appeals, the Effective Date is now indefinitely delayed

19   until such appeals are resolved by the Ninth Circuit.

20          THEREFORE, IT IS HEREBY STIPULATED AND AGREED that, subject to Court

21   approval, the February 10, 2023 deadline for post-distribution accounting shall be stayed pending

22   resolution of the Objector Appeals; and the Parties, in consultation with Claims Administrator

23   Angeion Group, will propose a new deadline to the Court promptly after resolution of the Objector

24   Appeals.

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     STIPULATED REQUEST AND                           2
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 1   Dated: February 7, 2023                               COOLEY LLP

 2                                                         /s/ Kyle C. Wong
                                                           Kyle C. Wong
 3
                                                           Attorney for Defendant
 4
                                                           Meta Platforms, Inc.
 5

 6   Dated: February 7, 2023                               DICELLO LEVITT LLC
 7                                                         /s/ David A. Straite
 8                                                         David A. Straite (admitted pro hac vice)

 9                                                         Counsel for Plaintiffs
10
     Dated: February 7, 2023                               GRYGIEL LAW LLC
11
                                                           /s/ Stephen G. Grygiel
12                                                         Stephen G. Grygiel (admitted pro hac vice)
13
                                                           Counsel for Plaintiffs
14

15   Dated: February 7, 2023                               SIMMONS HANLY CONROY LLC
16                                                         /s/ Jason “Jay” Barnes
17                                                         Jason “Jay” Barnes (admitted pro hac vice)

18                                                         Counsel for Plaintiffs
19

20                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
21          I, David A. Straite, attest that concurrence in the filing of this document has been obtained
22   from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
23          Executed this 7th day of February, 2023, at New York, NY.
24

25                                                         /s/ David A. Straite
                                                             David A. Straite
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 1                                 [PROPOSED] ORDER

 2   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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 4
     DATED: ________________________
 5                                                 ______________________________
                                                   The Honorable Edward J. Davila
 6                                                 United States District Judge

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     CASE NO. 5:12-MD-2314-EJD
     STIPULATED REQUEST AND                4
     [PROPOSED] ORDER
